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6                               UNITED STATES DISTRICT COURT

7                              EASTERN DISTRICT OF CALIFORNIA

8
     UNITED STATES OF AMERICA                         Case      No.     1:15-CR-00347-LJO-SKO
9                                     )                                     (002)
                           Plaintiff, )
10                                    )               STIPULATION TO MODIFY
                     vs.              )               CONDITIONS OF PRETRIAL RELEASE
11                                    )               AND ORDER THEREON
     LORENZO CARRANZA-POMPA,          )
12                                    )
                           Defendant. )
13   ________________________________ )
14          IT IS HEREBY STIPULATED by and between the parties hereto through their

15   attorneys of record that LORENZO CARRANZA-POMPA’s pretrial release condition

16   requiring he abide by a specific CURFEW enforced by electronic monitoring shall be

17   deleted.

18          All other previously ordered conditions of release, not in conflict with this order,

19   shall remain in full force and effect.

20          Ryan Beckwith, United States Pretrial Services officer, has been informed of this

21   request and is not opposed thereto.

22   Dated: September 7, 2016.                  PHILLIP A. TALBERT, Acting U.S. Attorney

23                                              /s/ Daniel J. Griffin

24                                              BY: DANIEL J. GRIFFIN,
                                                Assistant United States Attorney
25                                              Attorney for Plaintiff
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     STIPULATION TO MODIFY CONDITIONS OF PRETRIAL RELEASE AND ORDER THEREON
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2    Dated: September 7, 2016.          /s/ Daniel A. Bacon

3                                       DANIEL A. BACON,
                                        Attorney for Defendant
4                                       LORENZO CARRANZA-POMPA
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6
                                       ORDER
7
           IT IS SO ORDERED.
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9    Dated: September 8, 2016                  /s/ Barbara A. McAuliffe
                                           UNITED STATES MAGISTRATE JUDGE
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